       Case 2:12-cv-02159-JTM Document 242 Filed 03/09/17 Page 1 of 1

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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS              FILED
                                                             MAR 09 2016
SPRINT NEXTEL CORPORATION,

                      Plaintiff,

     vs.                                     No. 12-

THE MIDDLE MAN, INC.,

                      Defendant.



                                VERDICT

     We, the jury, impaneled and sworn in the above entitled case,
upon our oaths, submit the following answers to the questions
submitted by the court:


1. Do you find that Middle Man breached the Terms and Conditions
by reselling phones that Sprint sold to Middle Man?

                                Yes                     No



2. Agreement on the above verdict was unanimous.

                         x \
                                Yes                     No




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